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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON


 THE UNITED STATES OF AMERICA, THE
 STATE OF CALIFORNIA, and THE STATE OF
 WASHINGTON ex rel. David Phelan, and                       CASE NO. 3:21-cv-425 MO
 DAVID PHELAN, individually,
                                                            FILED UNDER SEAL
             Plaintiffs,                                    PURSUANT TO
    v.                                                      31 U.S.C. § 3730(b)(2)

 PROVIDENCE ST. JOSEPH HEALTH,                              JURY TRIAL DEMANDED

              Defendant.

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff and qui tam Relator David Phelan (“Relator”), by and through his undersigned

counsel Brown, LLC and Crispin Marton Cambreleng, alleges of personal knowledge as to his

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observations and actions, and on information and belief as to all else, as follows:

                                           I.
                                 PRELIMINARY STATEMENT

         1.    Providence St. Joseph Health (“Providence”) defrauded Medicare, Medicaid, and

private insurers by routinely billing for higher levels of radiation therapy services than provided.

         2.    In 2018, an external auditor’s review of Providence’s radiation oncology

department showed that Providence had billed for over $20 million of services that were excessive

and contravened billing regulations.

         3.    Instead of investigating the full scope of its incorrect billing and making appropriate

refunds, Providence chose to shut down all pending and future audits.

         4.    Providence deliberately halted audits to prevent negative impacts to its revenue at

the expense of taxpayers and insurance companies.

         5.    Relator brings this qui tam action on behalf of the United States of America under

the False Claims Act, 31 U.S.C. §§ 3729 et seq. (the “FCA”) to recover treble the damages

sustained by, and civil penalties and restitution owed to, the United States as a result of Defendant’s

fraud.

         6.    Relator brings this action on behalf of the State of California under the California

False Claims Act, Cal. Gov’t Code §§ 12650 et seq. (the “California FCA”) and the California

Insurance Frauds Prevention Act, Cal. Ins. Code §§ 1871 et seq. (the “CIFPA”), to recover treble

the damages sustained by, and civil penalties and restitution owed to, California and private

insurers as a result of Defendant’s fraud.

         7.    Relator brings this action on behalf of the State of Washington under the

Washington Medicaid Fraud False Claims Act, Wash. Rev. Code §§ 74.66.005 et seq. (the

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“Washington FCA”), to recover treble the damages sustained by, and civil penalties and restitution

owed to, Washington as a result of Defendant’s fraud.

       8.      This Complaint has been filed in camera and under seal pursuant to 31 U.S.C.

§ 3730(b)(2) and the analogous laws of California and Washington. It will not be served on

Defendant unless and until the Court so orders. A copy of the Complaint, along with written

disclosure of substantially all material evidence and information that Relator possesses, has been

served upon the Attorney General of the United States and on the United States Attorney for the

District of Oregon pursuant to 31 U.S.C. § 3730(b)(2) and Fed. R. Civ. P. 4(d); on the California

Attorney General pursuant to Cal. Gov’t Code § 12652(c)(3); on the Sacramento County District

Attorney and the California Insurance Commissioner pursuant to Cal. Ins. Code § 1871.7(e)(2);

and on the Washington Attorney General pursuant to Wash. Rev. Code § 74.66.050(2).

                                            II.
                                 JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, because

this action is brought for violations of the False Claims Act, 31 U.S.C. §§ 3729 et seq., a federal

statute. This Court has jurisdiction over the state-law claims pursuant to 31 U.S.C. § 3732(b).

       10.     The Court has personal jurisdiction over Defendant because Defendant (a) is a

resident of, and/or is licensed to transact and do transact business in, this District; and (b) has

carried out its fraudulent scheme in this District.

       11.     Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C.

§ 1391(b)(2), because Defendant can be found in, and transacts or has transacted business in this

District, and the events and omissions that give rise to these claims have occurred in this District.



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        12.     This Complaint is filed within the time period prescribed by 31 U.S.C. § 3731(b)

and the analogous laws of the Plaintiff States.

                                      III.
                             NO PUBLIC DISCLOSURE;
                     MATERIAL AND INDEPENDENT INFORMATION

        13.     Relator makes the allegations in this Complaint based on his own knowledge,

 experience and observations.

        14.     Relator is the original source of the information on which the allegations herein are

based, and voluntarily disclosed such information to the United States, California, and Washington

before filing this action.

        15.     There has been no public disclosure, relevant under 31 U.S.C. § 3730(e), Cal Gov’t

Code § 12652(d)(3)(A), Cal. Ins. Code § 1871.7(h)(2)(A), or Wash Rev. Code § 74.66.080(2), of

the “allegations or transactions” in this Complaint. Alternatively, to the extent that any such public

disclosure has been made, Relator possesses information that is independent of and materially adds

to any allegations that may have been publicly disclosed.

                                              IV.
                                          THE PARTIES

A.      Government Plaintiffs

        16.     Relator brings this action on behalf of Plaintiff the United States. The United States,

acting through the Centers for Medicare & Medicaid Services (“CMS”), has reimbursed Defendant

for falsely coded medical services.

        17.     Relator brings this action on behalf of Plaintiff the State of California, which has

reimbursed Defendant for falsely coded medical services through California’s Medicaid program



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(“Medi-Cal”). Relator also brings a claim on behalf of California under the CIFPA for fraud upon

private insurers in California who reimbursed Defendant for falsely coded medical services.

       18.     Relator brings this action on behalf of Plaintiff the State of Washington, which has

reimbursed Defendant for falsely coded medical services through Washington’s Medicaid program

(“Apple Health”).

B.     Relator

       19.     Relator David Phelan is a resident of Multnomah County, Oregon. Relator has

worked for Defendant as a dosimetrist since 2003.

C.     Defendant

       20.     Defendant Providence St. Joseph Health (“Providence”) is a corporation with its

principal place of business at 1801 Lind Avenue SW, Renton, Washington 98057. Providence

owns and operates hospitals in states including Oregon, California, and Washington.

                                          V.
                                   DEFENDANT’S FRAUD

A.     Providence’s Audit

       21.     In 2018, Providence commissioned a third-party auditor to review the billing of its

radiation oncology division across about a dozen hospital locations, including in Oregon,

California, and Washington.

       22.     Prior to 2018, there had been no systemic audit of Providence’s radiation oncology

practice for more than 10 years.

       23.     Depending on the location, the 2018 audit covered one to three years of billing.

       24.     The initial audit reports concluded that cumulatively, Providence’s radiation

oncology divisions had incorrectly billed for over $20 million of services.

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            25.   The audit’s findings are summarized below.

B.          Excessive and Unbundled Basic Radiation Dosimetry Calculation (Code 77300)

            26.   Healthcare Common Procedure Coding System/Current Procedure Terminology

(“HCPCS/CPT”) code 77300 is used to bill for basic radiation dosimetry calculation.

            27.   Dosimetry is the science of determining the appropriate radiation dose for a patient

undergoing radiation therapy.

            28.   Code 77300 represents a basic component of, and is therefore bundled into the

payments for, several radiation therapy plans.

            29.   A provider who bills for 77300 and also for one of these bundled radiation therapy

plans could therefore receive duplicative payment.

            30.   Noridian Healthcare Solutions, LLC (“Noridian”) is the Medicare Administrative

Contractor (“MAC”) for the jurisdictions covering, inter alia, California and Washington.

            31.   Noridian explicitly states that code 77300 “cannot be charged” with the following

radiation therapy plan codes:

    Code           Description1
    77306          Simple teletherapy isodose plan, including basic dosimetry calculation.
    77307          Complex teletherapy isodose plan, including basic dosimetry calculation.
    77321          Special teletherapy port plan, including basic dosimetry calculation.

            32.   Providence routinely bills using code 77300 on top of bundled radiation therapy

plans that already include basic dosimetry calculation.




1
  See “Radiation Oncology,” available at https://med.noridianmedicare.com/web/jfb/specialties/radiation-oncology
(last accessed Mar. 4, 2021).
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        33.     For example, the audit report for St. Joseph Hospital Orange states: “There were

1047 instances were [sic] Basic Calculation (77300) appeared to be billed for plans in which they

are bundled, resulting in $2,416,502 in potentially unsupported charges, a 62% error rate….”

(Emphasis added).

        34.     To avoid detection and denial of this duplicative billing by insurers, Providence

falsely billed code 77300 on different dates of service from the bundled plan code.

        35.     Furthermore, CMS provides that up to ten instances of code 77300 may be billed

per patient per day. Any instances of code 77300 above this threshold should be justified by

documentation.2

        36.     Providence frequently billed for more than ten instances of code 77300 per patient

per day without justification.

        37.     The audit report for Providence Regional Medical Center, Everett states: “1436

charges for Basic Dosimetry (77300) were billed in excess of the MUE [medically unlikely edits]3

of 10 or billed in [sic] on 2 separate line items on a single date of service. This is $820,928 in

charges that could be challenged and is a 35.5% error rate….”

C.      Excessive Complex Treatment Devices (Code 77334)

        38.     Various treatment devices are used in conjunction with radiation therapy courses,

such as those used to modify the radiation beam or to stabilize the patient’s body.

        39.     Treatment devices are billed using the following codes:




2
         “Coding      Guidelines,”       available      at       https://downloads.cms.gov/medicare-coverage-
database/lcd_attachments/30316_8/030110_00143_L30316_RAD014_revised_cbg.pdf (last accessed Mar. 4, 2021).
3
  The MUE for any particular code “is the maximum units of service that a provider would report under most
circumstances for a single beneficiary on a single date of service.” “Medically Unlikely Edits,” available at
https://www.cms.gov/Medicare/Coding/NationalCorrectCodInitEd/MUE (last accessed Mar. 4, 2021).
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    Code              Description4
    77332             Treatment devices, design and construction; simple.
    77333             Treatment devices, design and construction; intermediate.
    77334             Treatment devices, design and construction; complex.

            40.   Providence reflexively billed for the highest level of treatment devices using code

77334.

            41.   Furthermore, Providence billed for more instances of complex treatment devices

than CMS guidelines allowed.

            42.   Providence also billed for more complex treatment devices than it actually

provided.

            43.   CMS provides that up to ten instances of code 77334 may be billed per patient per

day. Any instances of code 77334 above this threshold should be justified by documentation.5

            44.   Providence regularly billed for more than ten instances of code 77334 per patient

per day without justification.

            45.   Providence commonly billed for 10-25 instances of code 77334 per patient per day.

            46.   Providence overbilled code 77334 by falsely characterizing what constitutes a

device.

            47.   CMS provides that “It is appropriate to report a treatment device CPT code for each

complex IMRT [intensity-modulated radiation therapy] field (i.e. gantry/table angle for step and

shoot and sliding windows). It should not be billed for each segment within the field.” 6




4
  See infra note 1.
5
  See infra note 2.
6
  See infra note 2.
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        48.      A field refers to a particular angle or setup at which a radiation beam is directed at

a patient. For example, the image below depicts a single radiation field emanating from a linear

accelerator mounted atop a gantry support beam.




        49.      A multi-leaf collimator (“MLC”) attached to the linear accelerator can divide each

radiation beam into multiple segments of varying intensity, size, and shape to better focus the

treatment.

        50.      There is no reason why each segment of the same radiation beam would require the

use of an additional complex treatment device.

        51.      Contrary to coding rules, Providence bills for multiple incidences of code 77334

per field.

        52.      For example, the audit report for Providence Regional Medical Center, Everett

states that code 77334 was “billed in excess of the MUE of 10 and/or billed on 2 separate line
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items on a single date of service, representing $943,338.73 in charges that could be challenged

and is an 83% error rate….” (Emphasis added).

        53.      This report also states: “Given the large # of instances where greater than 10 – 25

devices were billed, it is possible that devices were billed per segment, or multiple devices per

gantry angle” contrary to CMS coding guidelines (Emphasis added).

D.      Upcoding of Special Radiation Treatment (Code 77470)

        54.      Code 77470 is used to bill for special treatment procedures for particularly difficult

cases of cancer.

        55.      “According to Medicare regulations, 77470 covers the additional physician effort

and work required for the special procedures of hyperfractionation, total body irradiation, per oral

or transvaginal cone use, brachytherapy, hyperthermia, combination with chemotherapy or other

combined modality therapy, stereotactic radiosurgery, intraoperative radiation therapy, and any

other special time-consuming plan.”7

        56.      Disregarding such regulations, Providence providers have billed using code 77470

for radiation therapy that does not include such complex special procedures.

        57.      Medical documentation of the procedures that Providence billed using 77470 does

not reflect any special efforts that would justify this code.

        58.      Providence’s providers added code 77470 after the course of treatment had already

begun to obtain additional reimbursement.




7
  “Correct Use of 77470 Ensures Pay Up of Extra Services for Radiation Oncologists,” American Academy of
Professional Coders, available at https://www.aapc.com/codes/coding-newsletters/my-oncology-hematology-coding-
alert/correct-use-of-77470-ensures-pay-up-of-extra-services-for-radiation-oncologists-article (last accessed Mar. 5,
2021).
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       59.     For example, the audit report for Providence Disney Family Cancer Center states:

“Special Treatment Procedure (77470) was billed in the middle of, or at the very conclusion of the

course of treatment…. [T]his atypical utilization could result in denials, or unwanted scrutiny by

payers. A total of $265,056 in charges, or 51% . . . were affected.” (Emphasis added).

E.     Providence’s Cover-up

       60.     As noted above, the initial audit reports concluded that cumulatively, Providence’s

radiation oncology division had incorrectly billed for over $20 million of services.

       61.     Before the auditor could determine how much Providence owed to insurers in

excessive reimbursements, Group Vice President Lynda Baxter ordered that all current and

pending audits be halted.

       62.     Among the reasons for shutting down the audits, Baxter cited discontent among

Providence providers that continued audits and the resulting policy changes would harm their

profitability and that of Providence.

       63.     Baxter shut down the audits over the objections of employees who believed that

Providence had defrauded and is continuing to defraud insurers, including Medicare and various

state Medicaid programs.

                                           VI.
                                  THE LEGAL FRAMEWORK

A.     The False Claims Act

       64.     The False Claims Act, 31 U.S.C. §§ 3729 et seq., (the “FCA”), reflects Congress’s

objective to “enhance the Government’s ability to recover losses as a result of fraud against the

Government.” S. Rep. No. 99-345, at 1 (1986). As relevant here, the FCA establishes treble

damages liability for an individual or entity that:

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                  (A)      knowingly presents, or causes to be presented, a false or fraudulent
                           claim for payment or approval;

                  (B)      knowingly makes, uses, or causes to be made or used, a false record
                           or statement material to a false or fraudulent claim; [or]

                                                   ***

                  (G)      knowingly conceals or knowingly and improperly avoids or
                           decreases an obligation to pay or transmit money or property to the
                           Government….

31 U.S.C. § 3729(a)(1).

         65.      “Knowing,” within the meaning of the FCA, is defined to include reckless disregard

and deliberate indifference. Id. § 3729(b)(1).

         66.      The FCA defines “claim” to include any request for money that:

                  is made to a contractor, grantee, or other recipient, if the money or property
                  is to be spent or used on the Government’s behalf or to advance a
                  Government program or interest, and if the United States Government—

                           (I)      provides or has provided any portion of the money or
                                    property requested or demanded; or

                           (II)     will reimburse such contractor, grantee, or other recipient for
                                    any portion of the money or property which is requested or
                                    demanded….

Id. § 3729(b)(2)(A)(ii).

         67.      For each false claim or other FCA violation, the FCA provides for the assessment

of treble damages, plus a civil penalty.8




8
  31 U.S.C. § 3729(a)(1) provides a civil penalty of not less than $5,000 and not more than $10,000, as adjusted by
the Federal Civil Penalties Inflation Adjustment Act of 1990 (28 U.S.C. § 2461 note; Public Law 104-410). The
Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015, 28 U.S.C. § 2461 note, substituted a
different statutory formula for calculating inflation adjustments on an annual basis. For such penalties assessed after
June 20, 2020, the minimum penalty is $11,665 and the maximum is $ 23,331. See 28 C.F.R. § 85.5; 82 F.R. 37,004-
10 (June 19, 2020).
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       68.       The FCA also provides for payment of a percentage of the United States’ recovery

to a private individual who brings suit on behalf of the United States (the “Relator”) under the

FCA. See 31 U.S.C. § 3730(d).

B.     The Medicare Program

       Program Overview and Provider Enrollment

       69.       In 1965 Congress enacted Title XVIII of the Social Security Act, known as the

Medicare program, to pay for certain healthcare services provided to certain segments of the

population. Entitlement to Medicare is based on age, disability, or affliction with end-stage renal

disease. See 42 U.S.C. §§ 1395 et seq.

       70.       The federal Department of Health and Human Services, through CMS, administers

the Medicare program.

       71.       Part B of the Medicare program authorizes payment for medical services in an

outpatient setting. See 42 U.S.C. § 1395k(a)(2)(B).

       72.       CMS enters into agreements with healthcare providers such as Defendant to

participate in the Medicare program. Individuals or entities who are participating providers in

Medicare may seek reimbursement from CMS for services rendered to patients who are Medicare

beneficiaries.

       73.       To enroll as an authorized participant in Medicare, providers like Defendant are

required to make the following certification:

                 I agree to abide by the Medicare laws, regulations and program instructions
                 that apply to this provider. The Medicare laws, regulations, and program
                 instructions are available through the Medicare contractor. I understand that
                 payment of a claim by Medicare is conditioned upon the claim and the
                 underlying transaction complying with such laws, regulations, and program
                 instructions (including, but not limited to, the Federal anti-kickback statute

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                and the Stark law), and on the provider’s compliance with all applicable
                conditions of participation in Medicare.

Medicare Enrollment Application: Institutional Providers, CMS-855A, at 23.9

        74.     Compliance with applicable Medicare program rules and regulations is material to

the government’s decision to pay and its subsequent payment of claims. In order to be reimbursable

by Medicare, services must be medically necessary. See 42 U.S.C. § 1395y(a)(1)(A); 42 C.F.R.

§ 411.15(k)(1).

        The Medicare Claims Process

        75.     In order to receive reimbursement from Medicare, providers such as Defendant

must submit a claim form. See Form CMS-1500.10 That claim form requires the provider to make

the following certification:

                In submitting this claim for payment from federal funds, I certify that: 1)
                the information on this form is true, accurate and complete ... 3) I have
                provided or will provide sufficient information required to allow the
                government to make an informed eligibility and payment decision; 4) this
                claim ... complies with all applicable Medicare and/or Medicaid laws,
                regulations, and program instructions for payment [and] … 5) the services
                on this form were medically necessary….

Id., at 2 (emphasis added).

        76.     A provider may also submit the electronic equivalent of this claim form, which

includes a substantially similar certification.

        77.     CMS guidance as to electronic claims submission is found in Chapter 24 of the

Medicare Claims Processing Manual, CMS Publication No. 100-04 (the “Claims Manual”).11



9
  Available at https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/Downloads/cms855a.pdf (last Mar. 3, 2021).
10
   Available at https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/downloads/cms1500.pdf (last accessed Mar.
3, 2021).
11
   Available at https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/downloads/clm104c24.pdf (last
accessed Mar. 3, 2021).
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Among other things, the guidance specifies the minimum content of the enrollment form that a

local MAC may use to sign up providers to submit claims electronically. Per the Claims Manual,

such an enrollment form must contain, and the enrolling provider must acknowledge, at least the

following statements:

             The provider agrees to the following provisions for submitting Medicare claims
             electronically to CMS or to CMS’ A/B MACs or CEDI:
                                                  ***
             7. That it will submit claims that are accurate, complete, and truthful;
                                                  ***
             12. That it will acknowledge that all claims will be paid from Federal funds,
             that the submission of such claims is a claim for payment under the Medicare
             program, and that anyone who misrepresents or falsified or causes to be
             misrepresented or falsified any record or other information relating to that claim
             that is required pursuant to this agreement may, upon conviction, be subject to
             a fine and/or imprisonment under applicable Federal law; [and]
                                                 ***
             14. That it will research and correct claim discrepancies[.]

Claims Manual, Chapter 24 § 30.2.

       78.      The submission of such a certification, if false, is a violation of the FCA. 31 U.S.C.

§ 3729(a).

       79.      Each such false certification is a separate violation of the FCA.

       80.      Throughout the statutory period, Defendant and its affiliated hospitals and clinics

were enrolled Medicare providers.

       81.      Throughout the statutory period, Defendant presented or caused to be presented

claims to Medicare in which they made the foregoing certifications and acknowledgements.

       82.      Those certifications and acknowledgements were false, rendering Defendant’s

claims false and fraudulent.



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C.      The California False Claims Act

        83.        The California False Claims Act (the “California FCA”) provides liability for any

person who:

                   (1)    Knowingly presents or causes to be presented a false or fraudulent
                          claim for payment or approval.

                   (2)    Knowingly makes, uses, or causes to be made or used a false record
                          or statement material to a false or fraudulent claim.

                                               ***

                   (7)    [K]nowingly conceals or knowingly and improperly avoids, or
                          decreases an obligation to pay or transmit money or property to the
                          state or to any political subdivision.

Cal. Gov’t Code § 12651(a).

        84.        The California FCA defines “knowing” to include deliberate ignorance and

reckless disregard of the truth or falsity of information. Id. § 12650(b)(3).

        85.        The California FCA defines a “claim” to include any request for money, property,

or service that:

                   (B) Is made to a contractor, grantee, or other recipient, if the money,
                   property, or service is to be spent or used on a state or any political
                   subdivision’s behalf or to advance a state or political subdivision’s program
                   or interest, and if the state or political subdivision meets either of the
                   following conditions—

                          (i) Provides or has provided any portion of the money, property, or
                          service requested or demanded.

                          (ii) Will reimburse such contractor, grantee, or other recipient for
                          any portion of the money, property, or service which is requested or
                          demanded.

Id. § 12650(b)(1).



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        86.      Any person violating any of these provisions is liable for a civil penalty of not less

than $5,500 and not more than $11,000 for each violation, plus treble damages. Id § 12651(a).12

        87.      The California FCA provides for payment of a percentage of California’s recovery

to a “qui tam plaintiff” who brings suit on behalf of California. Cal. Gov’t Code § 12652(g).

D.      The California Insurance Fraud Prevention Act

        88.      The CIFPA establishes civil liability for violations of, inter alia, Cal. Pen. Code

§§ 550, 551, which criminalize various forms of insurance fraud. See Cal. Ins. Code § 1871.7(b).

        89.      Cal. Pen. Code § 550 provides, in pertinent part, that:

                 (a) It is unlawful to do any of the following, or to aid, abet, solicit, or
                     conspire with any person to do any of the following:

                                                          ***

                          (5) Knowingly prepare, make, or subscribe any writing, with the
                          intent to present or use it, or to allow it to be presented, in support
                          of any false or fraudulent claim.

                          (6) Knowingly make or cause to be made any false or fraudulent
                          claim for payment of a health care benefit.

        90.      For each violation of the CIFPA, California assesses a civil penalty of not less than

$5,000 and not more than $10,000, plus an assessment of not more than three times the amount of

each claim. Cal. Ins. Code § 1871.7(b).

        91.      The CIFPA also provides for payment of a percentage of California’s recovery to

an interested person who brings suit on behalf of California. Id. § 1871.7(g).

E.      The Washington Medicaid False Claims Act




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  This penalty is subject to adjustment under the Federal Civil Penalties Inflation Adjustment Act of 1990.
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        92.      The Washington Medicaid Fraud False Claims Act, Wash. Rev. Code §§ 74.66.005

et seq. (the “Washington FCA”), provides liability for any person who:

                 (a)      Knowingly presents, or causes to be presented, a false or fraudulent
                          claim for payment or approval; [or]

                 (b)      Knowingly makes, uses, or causes to be made or used, a false record
                          or statement material to a false or fraudulent claim;

                                                 ***

                 (f)      [K]nowingly conceals or knowingly and improperly avoids or
                          decreases an obligation to pay or transmit money or property to the
                          government entity.

Wash. Rev. Code § 74.66.020(1).

        93.      “Knowing,” within the meaning of the Washington FCA, is defined to include

reckless disregard and deliberate indifference. Id. § 74.66.010(7)(a).

        94.      Any person violating these provisions is liable for a civil penalty of at least $10,957

and not more than $21,916 for each violation, plus treble damages. Id. § 74.66.020(1).13

        95.      The Washington FCA also provides for payment of a percentage of the recovery to

a private individual who brings suit on behalf of Washington. Id. § 74.66.070.

F.      The Medicaid Program

        96.      Congress enacted Medicaid under Title XIX of the Social Security Act, 42 U.S.C.

§§ 1396 et seq.

        97.      Medicaid is a jointly funded cooperative venture between the federal and state

governments to provide health care to certain groups, primarily the poor and the disabled. See 42

C.F.R. §§ 430.0 et seq.



13
  Subject to adjustment under the Federal Civil Penalties Inflation Adjustment Act of 1990.
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       98.     Under the Medicaid program, the United States, through CMS, pays a specified

percentage of each state’s Medicaid program expenditures, known as the Federal Medical

Assistance Percentage (“FMAP”). See 42 U.S.C. § 1396d(b).

                                      COUNT I
                             FEDERAL FALSE CLAIMS ACT:
                           PRESENTATION OF FALSE CLAIMS

       99.     As described above, Providence knowingly presented or caused to be presented

claims for payment to CMS and/or its MAC (a) for services that were not rendered at the level for

which reimbursement was claimed; and/or (b) for services that exceeded regulatory guidelines.

       100.    These claims were false within the meaning of the FCA.

       101.    The presentation of these false claims caused CMS and/or its MAC to pay out

monies that they would not have paid if they had known of the falsity of these claims.

       102.    CMS and its MAC are grantees or other recipients of money from the United States

Government within the meaning of 31 U.S.C. § 3729(b)(2)(A)(ii). All such money is to be spent

to advance the United States’ interest in the Medicare program.

       103.    Accordingly, Providence’s knowing presentations of false or fraudulent claims for

payment to CMS and/or its MAC were violations of 31 U.S.C. § 3729(a)(l)(A).

       104.    Each presentation of a false or fraudulent claim to CMS and/or its MAC is a

separate violation of the FCA.

       105.    By reason of the false or fraudulent claims that Providence knowingly presented,

the United States has been damaged in an amount to be proven at trial.




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                                      COUNT II
                              FEDERAL FALSE CLAIMS ACT:
                             FALSE RECORD OR STATEMENT

       106.    As described above, Providence knowingly made and used false records and

statements when it caused claims for payment to be presented to CMS and/or its MAC, including

false documentation of the dates of services for radiation therapy.

       107.    The making and use of these false records or statements caused CMS and/or its

MAC to pay out monies that they would not have paid if they had known of the falsity of

Providence’s records and statements.

       108.    CMS and its MAC are grantees or other recipients of money from the United States

Government within the meaning of 31 U.S.C. § 3729(b)(2)(A)(ii). All such money is to be spent

to advance the United States’ interest in the Medicare program.

       109.    Accordingly, Providence’s knowing making and use of false records or statements

material to the false or fraudulent claims for payment that Providence submitted to CMS and/or its

MAC were violations of 31 U.S.C. § 3729(a)(l)(B).

       110.    Each such making or use of a false record or statement is a separate violation of the

FCA.

       111.    By reason of the false or fraudulent records or statements that Providence

knowingly made or used, the United States has been damaged in an amount to be proven at trial.

                            COUNT III (IN THE ALTERNATIVE)
                             FEDERAL FALSE CLAIMS ACT:
                               AVOIDING OBLIGATION

       112.    In the alternative to Counts I and II, Providence knowingly concealed or improperly

avoided its obligation to return payments to CMS and/or its MAC. As of 2018, Providence knew


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that its radiation oncology division overbilled Medicare, and chose to halt and cover up audits to

avoid its obligations to return payments.

       113.    Accordingly, Providence’s knowing concealment or avoidance of its obligations to

repay CMS and/or its MAC were violations of 31 U.S.C. § 3729(a)(l)(G).

       114.    Each instance thereof is a separate violation of the FCA.

       115.    By reason of Providence’s concealment and avoidance of its obligations to repay

the CMS and/or its MAC, the United States has been damaged in an amount to be proven at trial.

                                    COUNT IV
                           CALIFORNIA FALSE CLAIMS ACT:
                           PRESENTATION OF FALSE CLAIMS

       116.    As described above, Providence knowingly presented or caused to be presented

claims for payment to California’s Medicaid program Medi-Cal for (a) for services that were not

rendered at the level for which reimbursement was claimed; and/or (b) for services that exceeded

regulatory guidelines.

       117.    These claims were false within the meaning of the California FCA.

       118.    The submission of these false claims caused Medi-Cal to pay out monies that it

would not have paid if it had known of the falsity of these claims.

       119.    Accordingly, Providence knowingly presented false or fraudulent claims for

payment in violation of Cal Gov’t Code § 12651(a)(1).

       120.    Each false or fraudulent claim submitted to Medi-Cal is a separate violation of the

California FCA.

       121.    By reason of the false or fraudulent claims that Providence knowingly presented,

California has been damaged in an amount to be proven at trial.


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                                      COUNT V
                            CALIFORNIA FALSE CLAIMS ACT:
                             FALSE RECORD OR STATEMENT

       122.    As described above, Providence knowingly made and used false records and

statements that are material to false or fraudulent claims, including false documentation of dates

of service of radiation therapy.

       123.    These false records or statements were material to Providence’s false claims for

payment to Medi-Cal, and caused Medi-Cal to pay out monies that it would not have paid had it

known the falsity of Providence’s records or statements.

       124.    Accordingly, Providence knowingly made and used false records and statements

material to false or fraudulent claims for payment in violation of Cal Gov’t Code § 12651(a)(2).

       125.    Each making or using of false records or statements is a separate violation of the

California FCA.

       126.    By reason of the false records or statements that Providence knowingly made or

used, California has been damaged in an amount to be proven at trial.

                            COUNT VI (IN THE ALTERNATIVE)
                            CALIFORNIA FALSE CLAIMS ACT:
                                AVOIDING OBLIGATION

       127.    In the alternative to Counts IV and V, Providence knowingly concealed or

improperly avoided its obligation to return payments to Medi-Cal. As of 2018, Providence knew

that its radiation oncology division overbilled Medi-Cal, and chose to halt and cover up audits to

avoid its obligations to return payments.

       128.    Accordingly, Providence’s knowing concealment or avoidance of its obligations to

repay Medi-Cal is a violation of Cal. Gov’t Code § 12651(a)(7).

       129.    Each instance thereof is a separate violation of the California FCA.
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       130.    By reason of Providence’s concealment and avoidance of its obligations to repay

Medi-Cal, California has been damaged in an amount to be proven at trial.

                                COUNT VII
                CALIFORNIA INSURANCE FRAUD PREVENTION ACT

       131.    As described above, Providence knowingly prepared and made writings, including

false dates of service, with the intent of presenting, using, or allowing to be presented, such

writings in support of false or fraudulent claims submitted to private insurers in California in

violation of Cal. Pen. Code § 550(a)(5).

       132.    Providence also knowingly made or caused to be made false or fraudulent claims

for payment to private insurers in California in violation of Cal. Pen. Code § 550(a)(6), including

(a) for services that were not rendered at the level for which reimbursement was claimed; and (b)

for services that were excessive beyond regulatory guidelines.

       133.    Each violation of Cal. Pen. Code § 550 is in turn a violation of Cal. Ins. Code

§ 1871.7(b).

       134.    As a result of Providence’s fraud, California and private insurers have been

damaged in an amount to be proven at trial.

                                 COUNT VIII
                    WASHINGTON MEDICAID FALSE CLAIMS ACT
                        PRESENTATION OF FALSE CLAIMS

       135.    As described above, Providence knowingly presented or caused to be presented

claims for payment to Washington’s Medicaid program Apple Health for (a) for services that were

not rendered at the level for which reimbursement was claimed; and/or (b) for services that

exceeded regulatory guidelines.

       136.    These claims were false within the meaning of the Washington FCA.

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       137.    The presentation of these false claims caused Apple Health to pay out monies that

it would not have paid if it had known of the falsity of these claims.

       138.    Accordingly, Providence’s knowing presentations of false or fraudulent claims for

payment to Apple Health were violations of Wash. Rev. Code § 74.66.020(1)(a).

       139.    Each presentation of a false or fraudulent claim to Apple Health is a separate

violation of the Washington FCA.

       140.    By reason of the false or fraudulent claims that Providence knowingly presented,

Washington has been damaged in an amount to be proven at trial.

                                     COUNT IX
                           WASHINGTON FALSE CLAIMS ACT:
                            FALSE RECORD OR STATEMENT

       141.    As described above, Providence knowingly made and used false records and

statements when it caused claims for payment to be presented to Apple Health, including false

documentation of the dates of services for radiation therapy.

       142.    The making and use of these false records or statements caused Apple Health to

pay out monies that it would not have paid if it had known of the falsity of Providence’s records

and statements.

       143.    Accordingly, Providence’s knowing making and use of false records or statements

material to the false or fraudulent claims for payment that Providence submitted to Apple Health

were violations of Wash. Rev. Code § 74.66.020(1)(b).

       144.    Each such making or use of a false record or statement is a separate violation of the

Washington FCA.

       145.    By reason of the false or fraudulent records or statements that Providence

knowingly made or used, Washington has been damaged in an amount to be proven at trial.
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                           COUNT X (IN THE ALTERNATIVE)
                           WASHINGTON FALSE CLAIMS ACT:
                               AVOIDING OBLIGATION

       146.    In the alternative to Counts VIII and IX, Providence knowingly concealed or

improperly avoided its obligation to return payments to Apple Health. As of 2018, Providence

knew that its radiation oncology division overbilled Apple Health, and chose to halt and cover up

audits to avoid its obligations to return payments.

       147.    Accordingly, Providence’s knowing concealment or avoidance of its obligations to

repay Apple Health is a violation of Wash. Rev. Code § 74.66.020(g).

       148.    Each instance thereof is a separate violation of the Washington FCA.

       149.    By reason of Providence’s concealment and avoidance of its obligations to repay

Apple Health, Washington has been damaged in an amount to be proven at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Relator respectfully requests that this Court enter judgment in his favor

and that of the United States, California, and Washington, and against Defendant, granting the

following on all Counts:

(A)    an award to the United States for treble its damages, a statutory penalty for each violation
       of the FCA, and for its costs pursuant to 31 U.S.C. § 3729(a)(3);

(B)    an award to California for treble its damages, a statutory penalty for each violation of the
       California FCA and the CIFPA, and for its costs pursuant to Cal Gov’t Code § 12651(a)
       and Cal Ins. Code § 1871.7(b) respectively;

(C)    an award to Washington for treble its damages, a statutory penalty for each violation of the
       Washington FCA, and for its costs pursuant to Wash. Rev. Code § 74.66.020;

(D)    an award to Relator in the maximum amount permitted under 31 U.S.C. § 3730(d), Cal.
       Gov’t Code § 12652(g), Cal. Ins. Code § 1871.7(g) and Wash. Rev. Code § 74.66.070, and
       for the reasonable attorney’s fees and costs he incurred in prosecuting this action;



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(E)    awards to the United States, California, Washington, and Relator of pre- and post-judgment
       interest at the rates permitted by law; and

(F)    an award of such other and further relief as this Court may deem to be just and proper.

                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Relator demands trial by

jury on all questions of fact raised by the Complaint.

Dated: March 19, 2021
                                                     Respectfully submitted,

                                                     BROWN, LLC
                                                     /s/ Benjamin Lin
                                                     Benjamin Lin
                                                        (pro hac vice application forthcoming)
                                                     Jason T. Brown
                                                        (pro hac vice application forthcoming)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 19, 2021, I caused a true copy of the Complaint in the matter
captioned United States of America ex rel. Phelan v. Providence St. Joseph Health to be served
upon the following, along with written disclosure of substantially all material evidence and
information possessed by Relator:

by USPS Registered Mail, Return Receipt Requested, to

Office of the Attorney General of the United States
United States Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Scott Erik Asphaug
United States Attorney
District of Oregon
1000 SW Third Ave Suite 600
Portland, Oregon 97204

The Attorney General’s Office
California Department of Justice
Attn: False Claims Unit
455 Golden Gate Avenue, Suite 11000
San Francisco, CA 94102-7004

California Dept of Insurance
Agent for Service of Process
300 Capitol Mall Suite 1700
Sacramento CA 95814

Anne Marie Shubert
Sacramento County District Attorney
901 G Street
Sacramento, CA 95814

by email to

Bob Ferguson
Washington State Office of the Attorney General
serviceATG@atg.wa.gov

                                                      /s/ Benjamin Lin
                                                      Benjamin Lin

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